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                                                               FILED: 11/23/15
                              UNITED STATES DISTRICT COURT U.S. DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS EASTERN DISTRICT COURT
                                   BEAUMONT DIVISION      DAVID A. O'TOOLE, CLERK


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 1:15-CR-6-12
                                                  §
                                                  §
 MICHAEL ANDREW MARZ                              §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEAS
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 23, 2015, this case came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Michael Andrew Marz, to Count One of the

 Information. Count One alleges that on or about August 1, 2013, the exact date being unknown to

 the Grand Jury, and continuing thereafter until on or about October 1, 2014, in the Eastern District

 of Texas and elsewhere, the Defendant, Michael Andrew Marz, did intentionally and knowingly

 conspire, combine, confederate and agree together with others known and unknown to the Grand

 Jury, to possess with intent to distribute 5 grams or more but less than 50 grams of a Schedule II

 controlled substance, namely, methamphetamine “actual”, in violation of 21 U.S.C. § 841(a)(1), all

 in violation of 18 U.S.C. § 846.



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          The Defendant entered a plea of guilty to Count One of the Information into the record at the

 hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.        That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that he understood the terms of the plea agreement, and acknowledged that it was

 his signature on the plea agreement. To the extent the plea agreement contains recommendations

 and requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the Defendant that he has

 no right to withdraw the plea if the Court does not follow the particular recommendations or

 requests. To the extent that any or all of the terms of the plea agreement are pursuant to Rule

 11(c)(1)(A) or (C), the undersigned advised the Defendant that he will have the opportunity to

 withdraw his plea of guilty should the Court not follow those particular terms of the plea agreement.1

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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant that
 the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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         c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crime charged under 21 U.S.C. § 846.

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that the Defendant is

 one and the same person charged in the Information and that the events described in the Information

 occurred in the Eastern District of Texas. The Government would also have proven, beyond a

 reasonable doubt, each and every essential element of the offense as alleged in Count One of the

 Information through the testimony of witnesses, including expert witnesses, and admissible exhibits.

 In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence described

 in detail in the factual basis and stipulation, filed in support of the plea agreement.

         The Defendant, Michael Andrew Marz, agreed with and stipulated to the evidence presented

 in the factual basis. Counsel for the Defendant and the Government attested to the Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty plea



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 knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the Information. It is also recommended that the

 District Court defer acceptance of the plea agreement until after review of the presentence report.

 Accordingly, it is further recommended that Michael Andrew Marz be finally adjudged guilty of the

 charged offense under Title 21, United States Code, Section 846.

        If the plea agreement is rejected and the Defendant still persists in the guilty plea, the

 disposition of the case may be less favorable to the Defendant than that contemplated by the plea

 agreement. The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report, and (4) no more than eight

 (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule

 CV-72(c). A party who objects to this report is entitled to a de novo determination by the United

 States District Judge of those proposed findings and recommendations to which a specific objection

 is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).


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        A party’s failure to file specific, written objections to the proposed findings of fact and

 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).


         SIGNED this 23rd day of November, 2015.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge




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